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mmr-iia 15 :.»; O. ,,
IN THE UNITED STAT S DJS'PI£ICT COURT
FOR THE€DLSTRICT~OF _MARYLAND

DENISE THORNTON, Individuallyq 211de
Personal Representative of the Estate of ah
Cierra Randolph

9625 Axehead Court

Baltimore, Maryland 21133,

 

ADRIAN MILES, as Parent and Next Friend of
A.M., a Minor,

4108 Frankford Avenue

Baltimore, Maryland 21206,

KEITH RANDOLPH, lndividually,

Plaintiffs,

WHNIJCVUMZ

v, Civil No.

 

`MARYLAND GENERAL HOSPITAL,
827 Linden Avenue
`Baltimore, Maryland 21201,

and

HAROLD T. ROWSON,
827 Linden Avenue
Baltimore, M`a_ryland, 20201,

Def`endants,

 

MARYLAND GENERAL HOSPITAL,
827 Linden Avenue
Baltimore, Maryland 21201,

Third-Pany Plaintiffs,
v.
DANA LEE, M.D.,

l 1 l l Washington Boulevard
Baltimore, Maryland 21230,

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Third-Party Defendant. *

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NOTICE OF REMOVAL

Defendant Dana Lee, M.D., by the undersigned counsel, respectfully represents:

1. Dr. Lee has been named a third-party defendant in the above-captioned civil action now
pending in the Circuit Court of Maryland for Baltimore City, Case No. 24-C-l 1-261 l. The cross-claim
against Dr. Lee was filed in State Court on or about January 9, 2013. An amended cross-complaint was
filed on January ll, 20]3. Copies of all process, pleadings, and orders received by Dr. Lee in such
action are attached hereto at Exhibit l, lndependently, after receiving notice of this action, undersigned
counsel retrieved from the State Court copies of the relevant documents in the State Court file. Those
documents, including the original complaint, are attached at Exhibit 2.

2. The original complaint filed by the Plaintiffs concerns allegations of medical malpractice

against, inter aliaJ the health care providers employed by Defendant Maryiand General Hospital

 

 

(“MGH”) for the care and treatment rendered to Cierra Randolph at Maryland General on Novernber 4-
5, 2010. Plaintiffs dropped their claims against Dr. Lee. l-Iowever, on January 9, 2013, MGH filed a
cross-claim against Dr. Lee, asserting that it is entitled to indemnity and/or contribution from Dr. Lee
should the Plaintiffs prevail on any of their claims against MGH. AS set forth in the third-party
complaint, for all times relevant to the complaint, Dr. Lee was deemed to be a federal employee and was
certified as acting within the scope of his federal employment pursuant to 28 U.S.C. § 2679. As such,
jurisdiction is vested in the United States District Court because an employee of the United States has

been named a third-party defendant

 

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3. As such, this case is removed pursuant to 28 U.S.C. § 1442 because it is a case against, or

directed to, an officer of the United States.

4. WHEREFORE, this action now pending in the Circuit Court of Maryland for Baltimore

City is properly removed to this Court.

By:

Respectti.llly submitted,

Rod J. Rosenstein
United States Attorney

 
 
 
   
  

 
 

F_,_/s/
Jason D. e inger
Assistan nited States Attomey

 

F ederal Bar No. 28470

36 S. Charles Street, 4"‘ Floor
Baltirnore, Maryland 2120]
Phone: 410-209-4800
Jason.Medin er usdo'. ov

 

 

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This Notice of Removal has been signed pursuant to Rule 1 1, Federal Rules of Civil Procedure.

 

 

CERTIFICATE OF SERVICE
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I HEREBY CERTIFY that on January ,l>(, 2013 a copy of the foregoing Notice of Removal was
sent, first class, postage prepaid to:

Paul D’Amore, Esq.

The Cochran Firrn

l 100 New York Avenue, N.W.
Suite 340, West Tower
Washington, DC 20005
Counselfor Plaz'mifj%

Michael E. Blumenfeld, Esq.

l\/Iiles & Stockbridge P.C.

10 Light Street

Baltimore, MD 21202

Counselfor Maryland General Hospital

Robert l-I. Bouse, Jr., Esq.
Anderson, Coe, and King LLP
7 Saint Paul Street, Suite 1600
Baltimore, Maryland 21202
Counselfor Dr. Rowson

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